
Green, J.
delivered the opinion of the court.
By the act of 1829, ch, 22, sec. 7, it is provided, that if any entry shall he made on any occupant claim not laid down upon the general plan of the district, without the consent of the said occupant in writing, if such entry includes the occupant’s improvement therein, it shall he null and void, so far as it interferes with said occupant claim.
It is insisted by the plaintiff in error, that this law makes the entry, which may have been made on an occupant claim void, only so far as it includes the improvement of the occupant. That could not have been the meaning of the legislature. The occupant, as in this case, may have no improvement, save his house and shop. If the argument for the plaintiff in error be correct, then the entry would be valid for all the land around the buildings and so render the buildings themselves of no use. *448But the act says such entry shall be void so far as it interferes with the occupant claim. This extends to the whole land which by Jaw the occupant may enter. The judgment will therefore be affirmed.
Judgment affirmed.
